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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CHATTAHOOCHEE
RIVERKEEPER, INC.,

       Plaintiff,
                                           Civil Action File No.
v.                                         1:24-cv-03989-SDG

CITY OF ATLANTA, GEORGIA

       Defendant.

           DEFENDANT CITY OF ATLANTA, GEORGIA’S
     MOTION TO DISMISS IN PART AND MOTION TO STAY IN PART

      Defendant City of Atlanta, Georgia (“the City”) respectfully moves this Court

to dismiss in part and stay in part Plaintiff Chattahoochee Riverkeeper, Inc.’s

(“CRK”) Complaint [Dkt. 1] for lack of subject matter jurisdiction pursuant to

Federal Rule of Civil Procedure 12(b)(1) and for failure to state a claim pursuant to

Federal Rule of Civil Procedure 12(b)(6). In support of this motion, the City relies

on its Memorandum of Law in Support and the Declaration of Joseph Porter, Jr.,

which are filed contemporaneously herewith.
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Respectfully submitted, this 22nd day of November, 2024.

                            TROUTMAN PEPPER HAMILTON
                            SANDERS LLP

                            /s/ Lindsey B. Mann
                            Fitzgerald Veira (GA Bar No. 726726)
                            fitzgerald.veira@troutman.com
                            Lindsey B. Mann (GA Bar No. 431819)
                            lindsey.mann@troutman.com
                            Kadeisha West (GA Bar No. 640699)
                            kadeisha.west@troutman.com
                            Anaid Reyes-Kipp (GA Bar No. 703283)
                            anaid.reyes-kipp@troutman.com
                            600 Peachtree Street, N.E., Suite 3000
                            Atlanta, Georgia 30308
                            404-885-3000

                            Brooks M. Smith (pro hac vice)
                            brooks.smith@troutman.com
                            1001 Haxall Point, Suite 1500
                            Richmond, Virginia 23219
                            804-697-1200

                            Counsel for City of Atlanta, Georgia




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                           FONT CERTIFICATION

      Counsel certifies that the foregoing document was prepared in Times New

Roman, 14-point font, in compliance with Local Rule 5.1(B).

      This 22nd day of November, 2024.

                                   TROUTMAN PEPPER HAMILTON
                                   SANDERS LLP

                                   /s/ Lindsey B. Mann
                                   Lindsey B. Mann (GA Bar No. 431819)
                                   lindsey.mann@troutman.com

                                   Counsel for City of Atlanta, Georgia


                        CERTIFICATE OF SERVICE

      I hereby certify that the within and foregoing Motion to Dismiss in Part and

Motion to Stay in Part was served via the Court CM-ECF electronic filing system

upon all Counsel of Record.

      This 22nd day of November, 2024.

                                   TROUTMAN PEPPER HAMILTON
                                   SANDERS LLP

                                   /s/ Lindsey B. Mann
                                   Lindsey B. Mann (GA Bar No. 431819)
                                   lindsey.mann@troutman.com

                                   Counsel for City of Atlanta, Georgia




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